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                   UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                           :
ADAM DOBSON,                               :
                                           :   NO. 1:16-cv-01958-CCC
                         Plaintiff,        :
                                           :
              vs.                          :   (CONNER, C.J.)
                                           :
THE MILTON HERSHEY SCHOOL,                 :
et al.,                                    :
                                           :
                         Defendants.       :
                                           :

 DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF ADAM
DOBSON’S MOTION FOR ENLARGEMENT OF TIME TO FILE REPLY
  BRIEF IN SUPPORT OF “CROSS MOTION” TO AGAIN AMEND
             PLAINTIFF’S AMENDED COMPLAINT

      Defendants the Milton Hershey School (“MHS” of the “School”), and The

Hershey Trust Company (“HTC”), as Trustee of the Milton Hershey School Trust

(collectively, “Defendants”), hereby file this Response in Opposition to Plaintiff

Adam Dobson’s (“Plaintiff”) Motion for Extension of Time to file Reply Brief in

Support of his “Cross Motion” for Leave to file a Second Amended Complaint.

(Doc. 111.)

      In an all too predictable tactic designed to delay judicial review of the

merits, Plaintiff, at the last minute and on the date on which his Reply Brief in

Support of Motion for Leave to file Second Amended Complaint is due, filed this
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Motion regurgitating the same excuses he has proffered to this Court in this case1

on at least two separate occasions: (1) July 27, 2018, (Doc. 95), First Motion for

Extension of Time to file Response in Opposition to Defendants’ Motion for

Judgment on the Pleadings; and (2) August 15, 2018, (Doc. 97), Second Motion for

Extension of Time to file Response in Opposition to Defendants’ Motion for

Judgment on the Pleadings.

      Despite the feigned need for and benefit of the requested eleventh hour

extension,2 Plaintiff’s disregard for this Court’s limited resources, and the parties’

time, is evidenced by the fact that, when he recently secured permission to file a

Sur-Reply Brief in Opposition to Defendants’ Motion for Judgment on the

Pleadings, (Doc. 105), instead of filing the Sur-Reply on October 12, 2018, the

date it was due, he chose to waive the court-ordered relief he had secured and filed

the instant “Cross Motion” seeking to again amend his Complaint.



      1
          In another case in which Plaintiff’s counsel represented a plaintiff suing
MHS, he filed a number of nearly identical motions. See Buchan v. Milton
Hershey School, et al., No. 16-cv-2557-CCC (M.D. Pa.). After securing an
extension of time to file a response to Defendants’ motion to dismiss in that case,
counsel voluntarily withdrew the second amended complaint on behalf of the
plaintiff. See (Docs. 23-25.)
      2
          Plaintiff’s customary assertions for the need for the extension, i.e. the
“complexity” of the preceding pleading, and the benefit of the extension, i.e. to
“better enable this Honorable Court to come to a just and accurate determination,”
are parroted in each last minute request for extension that counsel routinely
requests.
                                          2
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      The instant Motion, which does not include a supporting Brief, and merely

parrots Plaintiff’s Motion to file a Sur-Reply, (Doc. 103), disingenuously and

baldly concludes that “a Reply would better enable this Honorable Court to come

to a just and accurate determination of Plaintiff’s” Motion. (Id. at 1.) Plaintiff is

mistaken, as Defendants’ Response Brief, (Doc. 107), establishes that as a matter

of fact and law leave to again amend is not only improper, but would be futile.

      Tellingly, while Plaintiff’s Motion has been pending, Plaintiff’s counsel has

seemingly found enough time to make filings on the docket related to the

deficiencies in Plaintiff’s “Cross-Motion” that are specifically identified in

Defendants’ Brief in opposition to the “Cross-Motion,” the very document to

which the Reply Brief for which he now seeks an extension applies, and that

Plaintiff’s counsel alleges he has insufficient time to prepare.        Rather than

preparing a proper Reply Brief (or preparing a proper principal Motion and Brief

with the requisite L.R. 15.1 proposed Second Amended Complaint), he filed a

“Praecipe to Supplement/Attach Second Amended Complaint” – which should

have been filed on October 12, 2018, when he filed the Cross Motion (instead of

filing his Court Ordered Sur-Reply). (Doc. 113, 113-1.) In addition, Plaintiff filed

a Certificate of Non-Concurrence that was omitted from his original “Cross-

Motion” filing in violation of Local Rule 7.1, cited by Defendants in their Brief in

Opposition.


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      In short, Plaintiff’s repeated attempts to delay the substantive and dispositive

dismissal of his claims must not be countenanced. Defendants’ Motion for

Judgment on the Pleadings is ripe for adjudication, as well as Plaintiff’s meritless

“Cross Motion” to again amend Plaintiff’s Amended Complaint. Plaintiff must

comply with the same Federal Rules and standards of all counsel, Defendants’

counsel, and his repeated attempts to delay justice and a dispositive ruling on his

pleadings that are deficient as a matter of law and fact must be rejected. See Fed.

R. Civ. P. 1 (The Rules “should be construed, administered, and employed by the

court and the parties to secure the just, speedy, and inexpensive determination of

every action and proceeding.”).

      For the foregoing reasons, Defendants respectfully request that the Court

deny Plaintiff’s Motion for Enlargement of Time. Defendants do not concur with

Plaintiff’s Motion.




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                                  Respectfully submitted,

                                   ELLIOTT GREENLEAF, P.C.


                                    /s/ Jarad W. Handelman
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                                   Counsel for Defendants
Dated: November 9, 2018




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                         CERTIFICATE OF SERVICE

      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing

Response to be served on all counsel via the Court’s electronic filing system.



                                             /s/ Jarad W. Handelman
                                             Jarad W. Handelman
Dated: November 9, 2018
